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Connie M. Whitmore
908 Township Road 262
Bloomingdale, OH 43910

September 2, 2021

The Honorable James E. Boasberg
U.S. District Court
Washington, D.C.

RE: Reference: Derek Joseph Jancart

Dear Honorable Boasberg:
| am writing to you regarding Derek Joseph Jancart and my knowledge of this gentlemen.

Derek completed his education at Indian Creek High School located in Wintersville, Ohio. Not
only was Derek a good student and an outstanding athlete, he was known for his kindness and concern
for other students, his neighbors and family.

Derek also served honorably in the U.S. Air Force and during his service again showed his
concern for others including his country.

At one time, Derek met a man and his wife and children that were down on their luck. He could
have just walked away and allowed this family to be homeless and hunting for ways to survive. Derek
took them into his home, provided food and clothing and made sure the children had what they needed
for their daily lives, including school supplies and made sure that they had a wonderful Christmas. Derek
has always put other people and their needs ahead of his needs.

Unfortunately, due the times that we are living in now, there has been a lot of excitement and
frustration regarding our government. While Derek was at the Capitol during the protest, the security
police walked into the doors of the capitol, leaving the doors open, encouraging people to believe that it
was Okay to enter the Capitol Building.

| have known Derek to be a honorable person and proud to be American. He proved that by
being a good student, athlete, soldier in the Air Force and Air Force Reserves, and being there for
anyone that needed him, including family, friends, and neighbors.

| feel that he is an upstanding citizen and wish there were more like him.

| would like to thank you for taking time to read my correspondence and pray that you will
consider my observations concerning Derek Joseph Jancart.
Sincerely,

CK. YY\ (ohewrert

Connie M. Whitmore

 
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